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6                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
7

8
     LAC DU FLAMBEAU BAND OF LAKE               Case No. ______
9    SUPERIOR CHIPPEWA,
                                                COMPLAINT
10                    Plaintiff,
                                                JURY TRIAL DEMANDED
11
     vs.
12
     MCKINSEY & COMPANY, INC. and
13   JOHN DOES 1-100,
14
                       Defendants.
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1    I.     INTRODUCTION
2
            1.       This case arises from the worst man-made epidemic in modern medical history—
3
     the misuse, abuse, and over-prescription of opioids. This crisis arose from the opioid
4
     manufacturers’ deliberately deceptive marketing strategy to expand opioid use.
5

6           2.       McKinsey and Company, Inc. (“McKinsey” or “Defendant”) played an integral

7    role in creating and deepening the opioid crisis.
8
            3.       In the years following Purdue Pharma L.P.'s (“Purdue”) 2007 guilty plea for
9
     misleadingly marketing OxyContin, McKinsey worked closely with Purdue to dramatically
10
     increase OxyContin sales to the benefit of McKinsey, Purdue, and the Sackler family, the wealthy
11

12   family that has owned and controlled Purdue for decades. McKinsey specifically sought to

13   maximize OxyContin sales by working around the requirements of the Corporate Integrity
14
     Agreement that Purdue entered as part of its guilty plea. McKinsey also performed related work
15
     for other manufacturers of opioids, including Johnson & Johnson. Through the conduct described
16
     in this complaint, McKinsey participated in and helped orchestrate a broad scheme to deceptively
17

18   market opioids.

19          4.       McKinsey knew of the dangers of opioids and of Purdue's prior misconduct, but
20
     nonetheless advised Purdue to improperly market and sell OxyContin, supplying granular sales
21
     and marketing strategies and remaining intimately involved throughout implementation of those
22
     strategies. McKinsey's actions resulted in a surge in sales of OxyContin and other opioids that
23

24   fueled and prolonged the opioid crisis.

25          5.       In a series of agreements, McKinsey has recently settled opioid-related claims with
26
     49 states, the District of Columbia, and five U.S. territories.
27
            6.       Plaintiff Lac du Flambeau Band of Lake Superior Chippewa (“Plaintiff” or “Lac
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1    du Flambeau”) is a sovereign Indian tribe responsible for the health and well-being of its citizens.
2
     Native Americans have disproportionately borne the toll of the opioid crisis. Plaintiff brings suit
3
     to hold McKinsey responsible for its role in that crisis, which has posed an existential threat to
4
     tribes and tribal communities.
5

6    II.    JURISDICTION AND VENUE

7           7.       The Tribe brings this action In Re: McKinsey & Co., Inc National Prescription
8
     Opiate Consultant Litigation, MDL No. 2996, and files directly in the Northern District of
9
     California as permitted in Paragraph 10 of this Court’s Case Management Order dated November
10
     30, 2021 (Doc. #293). The Tribe reserves the right to have this matter transferred to one or more
11

12   U.S. District Courts for trial in which it could have originally filed this case.

13          8.       This Court has subject matter jurisdiction over this action because the Plaintiff
14
     brings a federal cause of action that raises a federal question pursuant to 28 U.S.C. § 1331, and
15
     because this action is brought by an Indian tribe pursuant to 28 U.S.C. § 1362. The Court also has
16
     supplemental jurisdiction over the Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367 and
17

18   because the state law claims are part of the same case or controversy.

19          9.       The U.S. District Court, Western District of Wisconsin, has personal jurisdiction
20
     over Defendants because at all relevant times, McKinsey has purposely availed itself of the
21
     privilege of doing business in the state of Wisconsin, including by engaging in the business of
22
     researching, designing, and implementing marketing and promoting strategies for various opioid
23

24   manufacturers, including Purdue, in support of their sales and marketing of opioids in Wisconsin.

25          10.      The U.S. District Court, Western District of Wisconsin, also has personal
26
     jurisdiction over Defendants under 18 U.S.C. § 1965(b). This Court may exercise nationwide
27
     jurisdiction over Defendants where the “ends of justice” require national service and the Tribe
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1    demonstrates national contacts. The interests of justice require the Tribe be permitted to bring all
2
     members of the nationwide RICO enterprise before the Court in a single trial.
3
            11.     Lac du Flambeau has inherent sovereignty over unlawful conduct by non- Indians
4
     on land that constitutes Indian country within the Lac du Flambeau Band, including on land
5

6    owned by or held in trust for the Lac du Flambeau.

7           12.     Lac du Flambeau brings this action against the non-Indian Defendants based on
8
     consensual relationships with members of the Lac du Flambeau Band and as the Defendants’
9
     wrongful conduct constitutes and poses an ongoing threat to the political integrity, economic
10
     security, and health or welfare of the Lac du Flambeau Band.
11

12          13.     Federal law recognizes Lac du Flambeau’s authority in the Lac du Flambeau

13   jurisdictional area for multiple purposes, most of this authority to promote autonomy and the
14
     health and welfare of the Lac du Flambeau Band.
15
            14.     Lac du Flambeau’s sovereignty and its jurisdictional area is recognized by the
16
     State of Wisconsin as territory in which the Lac du Flambeau Band has governmental authority
17

18   to administer certain state programs and to exercise sovereign rights.

19          15.     This Court has personal jurisdiction over Defendant because at all relevant
20
     times, McKinsey has purposely availed itself of the privilege of doing business in the State of
21
     Wisconsin, including by engaging in the business of researching, designing, and implementing
22
     marketing and promoting strategies for various opioid manufacturers, including Purdue, in support
23

24   of their sales and marketing of opioids in Wisconsin.

25          16.     Defendants have substantial contacts and business relationships with Lac du
26
     Flambeau, the members of the Lac du Flambeau, employees of the Lac du Flambeau, and/or Lac
27
     du Flambeau businesses. Defendants have purposefully availed themselves of business
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1    opportunities within and affecting the Lac du Flambeau jurisdictional area.
2
            17.     Defendants’ conduct has caused and is causing damages to Lac du Flambeau’s
3
     proprietary and sovereign interests by imposing significant costs on the Band’s health and welfare
4
     fund and system, in addition to undermining the economic productivity of its members, and
5

6    harming the long-term health and welfare of Lac du Flambeau members.

7           18.     Venue is proper in the United States District Court for the Western District of
8
     Wisconsin, under 28 U.S.C. § 1391(g) and 18 U.S.C. § 1965. Plaintiff hereby asserts that, because
9
     a substantial part of the events or omissions giving rise to this action occurred in Wisconsin and
10
     because the Defendant is subject to the jurisdiction of the United States District Court for the
11

12   Western District of Wisconsin, venue is thereby proper. But for the Case Management Order

13   permitting direct filing into U.S. District Court, Northern District of California, dated November
14
     30, 2021 (Doc. #293), the Tribe would have filed this action in U.S. District Court, Western
15
     District of Wisconsin.
16
     III.   PARTIES
17

18          A.      Plaintiff

19          19.     Plaintiff, Lac Du Flambeau Band of Lake Superior Chippewa Indians, is a
20
     federally recognized sovereign Indian tribe with thousands of tribal members. The Tribe is
21
     governed by the organic documents and laws of the Tribe and is principally located near Lac Du
22
     Flambeau, Wisconsin. The Tribe exercises inherent sovereign governmental authority within the
23

24   Tribe’s Indian Lands and on behalf of the health and welfare of the Tribe and its members (“Tribal

25   Members”), descendant children, and grandchildren and other inhabitants of the Tribe’s Indian
26
     Lands. The Tribe’s reservation lands are located in Vilas County, Oneida County, and Iron
27
     County, Wisconsin. Members of the Tribe are affected by the actions and conduct of the
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1    Defendants both directed at or near the Tribe’s Indian Lands, as well as areas outside of the
2
     Tribe’s Indian Lands. Tribal Members live both on and off the Tribe’s Indian Lands.
3
            20.     A substantial number of Lac du Flambeau Members have fallen victim to the
4
     opioid epidemic, becoming addicted to prescription opioids or coping with family members who
5

6    are addicted. As a result, Lac du Flambeau has expended and diverted Nation resources towards

7    combatting the opioid epidemic created by Defendants. Lac du Flambeau has incurred significant
8
     costs in an attempt to abate the opioid epidemic that continues to plague its members and Indian
9
     lands, providing medical services and opioid-related treatments to those in need. Plaintiff has
10
     incurred extraordinary costs, damages, and financial impact to every department of its
11

12   Government: housing, education, security, services, medical, labor, operations, waste treatment,

13   foster care, after school care, etc. Lac du Flambeau brings this suit, in part, to recover these costs
14
     and procure the additional financial resources required to adequately combat and abate opioid
15
     addiction, opioid-related injuries, and other problems caused by the opioid crisis.
16
            21.     This action is brought by Lac du Flambeau in the exercise of its authority as a
17

18   sovereign government and on behalf of the Plaintiff in its proprietary capacity and under its

19   parens patriae authority in the public interest to protect the health, safety, and welfare of all Lac
20
     du Flambeau Members to stop the growing prescription opioid epidemic within Lac du Flambeau.
21
     Lac du Flambeau also brings this action as to recover damages and seek other redress for harm
22
     caused by Defendants’ improper, wrongful, fraudulent, and tortious conduct with respect to the
23

24   distribution and sale of prescription opioids. Defendants’ actions have caused, and continue to

25   cause, a crisis that threatens the health, safety, and welfare of the Nation.
26
            22.     Lac du Flambeau has standing to recover damages incurred as a result of
27
     Defendants’ actions and omissions. Lac du Flambeau has standing to bring actions as an
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                                                       6
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1    enterprise and a “person,” including, inter alia, standing to bring claims under the federal RICO
2
     statue, pursuant to 18 U.S.C. § 1961(3) and 18 U.S.C. § 1964.
3
            23.     Nothing herein shall be deemed a waiver of Lac du Flambeau’s sovereign
4
     immunity.
5

6           24.     The opioid crisis is straining the Lac du Flambeau’s ability to provide adequate

7    services to its members. With its limited resources, Lac du Flambeau has been forced to divert
8
     funds from other tribal priorities to staff new positions needed to address the opioid crisis,
9
     including substance abuse counselors, nurses, and physicians specializing in addiction.
10
            B.      Defendant
11

12          25.     Defendant McKinsey and Company, Inc. is a corporation organized under the laws

13   of the state of New York. McKinsey's principal place of business is located at 711 Third Avenue,
14
     New York, NY 10017.
15
            26.     McKinsey is a worldwide management consultant company. From approximately
16
     2004-2019, McKinsey provided consulting services to Purdue Pharma L.P., working to maximize
17

18   sales of OxyContin and knowingly perpetuating the opioid crisis. McKinsey has provided related

19   consulting services to other manufacturers of opioids.
20
            27.     Plaintiff presently lacks information sufficient to specifically identify the true
21
     names or capacities, whether individual, corporate or otherwise, of the Defendants sued herein
22
     under the fictitious names JOHN DOES 1-100 inclusive. Plaintiff will amend this Complaint to
23

24   show their true names and capacities if and when they are ascertained. Plaintiff is informed and

25   believes, and on such information and belief alleges, that each of the Defendants named as a DOE
26
     is responsible in some manner for the wrongful conduct alleged in this Complaint either as an
27
     employee or board member or equity owner of McKinsey, or as a related company or enterprise,
28

                                                     7
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1    and is liable for the relief sought herein. JOHN DOES 1-100 include but are not limited to
2
     individual partners or members of McKinsey who invested in and/or profited from enterprises
3
     related to the opioid epidemic and/or opioid addiction.
4
     IV.    FACTUAL ALLEGATIONS
5

6           A.      The Corporate Integrity Agreement

7           28.     In May of 2007, Purdue Frederick Company, the parent company of Purdue
8    Pharma L.P. (“Purdue”) pleaded guilty to charges for misleading regulators, doctors, and the
9
     public regarding Purdue's opioid OxyContin. In pleading guilty, Purdue admitted to falsely
10
     marketing OxyContin as a less addictive, safer alternative to other pain medications.
11

12          29.     In the global settlement resolution, Purdue and its parent company paid over $600

13   million and entered into a Corporate Integrity Agreement with the U.S. Department of Health and
14   Human Services Office of Inspector General.
15
            30.     Under the Corporate Integrity Agreement, for five years, Purdue was required to
16
     refrain from making any deceptive or misleading claims about OxyContin and was obligated to
17

18   submit regular compliance reports regarding its sales and marketing practices. Purdue was also

19   required to monitor, report, and attempt to prevent inappropriate prescribing practices.
20          B.      McKinsey's Role Following the Corporate Integrity Agreement
21
                    1.     The Sacklers seek to divert money to themselves.
22
            31.     The Sackler family is among the richest families in the United States. Members of
23

24   the Sackler family have controlled Purdue at all times relevant to this complaint.

25          32.     Following the guilty plea, the Sacklers sought to insulate themselves from the risk
26   they perceived in Purdue. Email threads between the Sacklers in early 2008 indicate that the
27
     Sacklers had become concerned about personal liability regarding opioid-related misconduct.
28

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1           33.     The Sacklers considered selling Purdue or merging with another pharmaceutical
2
     company as an option for limiting their risk. Mortimer Sackler Jr. advocated for a sale or merger
3
     in a February 21, 2008 email to Dr. Richard Sackler (a former president and co-chairman of
4
     Purdue) and several others, writing “[t]he pharmaceutical industry has become far too volatile
5

6    and risky for a family to hold 95% of its wealth in. It simply is not prudent for us to stay in the

7    business given the future risks we are sure to face and the impact they will have on the shareholder
8
     value of the business and hence the family's wealth.” The risk he referred to was, at least in
9
     significant part, further liability related to misconduct in the marketing and sale of OxyContin.
10
            34.     Alternatively, the Sacklers considered extracting as much wealth as possible from
11

12   Purdue through distributions to themselves as shareholders. Such distributions would allow the

13   Sacklers to diversify their assets and make their wealth less vulnerable to judgments regarding
14
     Purdue’s sales and marketing of opioids, including OxyContin.
15
            35.     Either option -- a sale or significant distributions to shareholders -- would require
16
     Purdue to increase profitability in the short term. Purdue turned to McKinsey, with which it had
17

18   an existing business relationship, for help maximizing sales of OxyContin given the requirements

19   of the Corporate Integrity Agreement and the scrutiny that came along with it.
20
                    2.      McKinsey supplied Purdue with Granular Sales and Marketing
21                          Strategies and Remained Intimately Involved in Implementation

22          36.     McKinsey touts its model of engaging in transformational partnerships with its
23   clients. Rather than giving one-off advice, McKinsey learns each client's business intimately and
24
     provides tailored, granular strategies.
25
            37.     McKinsey had begun collaborating with Purdue by June 2009. McKinsey was
26

27   tasked with increasing OxyContin sales despite the Corporate Integrity Agreement, which

28   required, among other things, that Purdue comport with FDA requirements and also included
                                                      9
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1    increased review and reporting obligations.
2
            38.     McKinsey provided sales and marketing strategies designed to sell as much
3
     OxyContin as possible, at one point in 2010 telling Purdue that the new strategies McKinsey had
4
     developed could generate as much as $400 million in additional annual sales. McKinsey worked
5

6    with Purdue to implement the strategies, with McKinsey’s ongoing and extensive involvement.

7           39.     OxyContin sales grew dramatically, and the Sacklers diverted the resulting profits
8
     into other holdings.
9
            40.     In a 2009 report, among other sales strategies, McKinsey advised Purdue sales
10
     representatives to push the highest dosages of OxyContin, which were the most profitable for
11

12   Purdue. In order to maximize dosages and improve targeting of the coordinated marketing

13   strategy, McKinsey investigated the prescribing habits of individual physicians.
14
            41.     McKinsey helped shape Purdue's OxyContin marketing, which misleadingly
15
     centered on freedom and peace of mind for users. The marketing was tailored to avoid running
16
     directly afoul of the Corporate Integrity Agreement, but it remained misleading given what
17

18   Purdue and McKinsey knew about opioids. One advertisement said, “we sell hope in a bottle,”

19   despite the fact that both McKinsey and Purdue already understood the addiction problems
20
     associated with opioid use and abuse.         McKinsey encouraged Purdue to tell doctors that
21
     OxyContin would give their patients “the best possible chance to live a full and active life.”
22
            42.     McKinsey urged Purdue to train and incentivize its sales representatives to
23

24   increase sales across the market for opioids, even if sales went to Purdue's competitors. This was

25   intended to serve the Sackler family's goal of increasing the marketability of Purdue for potential
26
     mergers, but it had the effect of worsening the opioid crisis even beyond the portion of the crisis
27
     directly attributable to sales and use of OxyContin.
28

                                                      10
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1           C.      Project Turbocharge
2
            43.     The Corporate Integrity Agreement expired in 2012. With this restriction lifted,
3
     McKinsey devised additional marketing and sales strategies for Purdue to further increase
4
     OxyContin sales.
5

6           44.     In the second half of 2013, McKinsey made recommendations to Purdue to

7    increase OxyContin revenue, including “Turbocharging Purdue's Sales Engine.”
8
            45.     McKinsey's “Project Turbocharge” recommendations included revising the
9
     existing process for targeting high-prescribing physicians, with a shift from targeting solely on
10
     the basis of prescription deciles to considering additional factors. Based on its analysis, McKinsey
11

12   told Purdue that “[t]here is significant opportunity to slow the decline of OxyContin by calling

13   on more high-value physicians” and that “[t]he revenue upside from sales re-targeting and
14
     adherence could be up to $250 million.”
15
            46.     Also, as part of the “Project Turbocharge” recommendations, McKinsey
16
     determined and advised Purdue that the top half of prescribing physicians “write on average 25
17

18   times more scripts per prescriber” than the lower half. McKinsey was behind the “hyper-

19   targeting” of high volume prescribing doctors and “pain clinics” many of which later became
20
     known as “pill mills.”
21
            47.     Despite knowing that the then-recently-expired Corporate Integrity Agreement
22
     required Purdue to refrain from improperly incentivizing OxyContin sales, McKinsey also
23

24   recommended increasing incentive compensation for incremental OxyContin prescriptions,

25   advising Purdue that “[r]evision to incentive comp could better align reps to Purdue's economics.”
26
     The McKinsey plan was to give persons in the sales chain a stake in “bonus” compensation based
27
     upon the volume of pills prescribed in that sales chain.
28

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1           48.     To further turbo charge the opioid pill market, McKinsey recommended
2
     decreasing training by six days a year in order to allow employees more time to make sales calls.
3
     Meanwhile, McKinsey advised Purdue to exercise closer control over its sales staff in order to
4
     generate more efficient physician targeting.
5

6           49.     Physician targeting paid off. McKinsey advised Purdue that visiting high-

7    prescribing doctors many times per year increased sales, that a “high touch” of “hyper targeted”
8
     doctors would pay off in profits.
9
            50.     Armed with knowledge of how opiate pills were being tracked by governments,
10
     McKinsey recommended that Purdue circumvent pharmacies entirely with a mail order program
11

12   because enforcement by federal regulators was decreasing OxyContin dispensing through

13   Walgreens.
14
            51.     At   the   board     level,   McKinsey    urged    the   Sacklers   to   impose    a
15
     “revenue growth goal” on management.
16
            52.     With McKinsey’s ongoing involvement and advice, Purdue implemented
17

18   McKinsey's recommendations discussed above, but rebranded the program from Project

19   Turbocharge to Evolve to Excellence.
20
            53.     McKinsey's efforts had the effect the Sacklers had asked McKinsey to achieve.
21
     Sales of OxyContin tripled in the years following the 2007 guilty plea, despite the restrictions
22
     imposed by the Corporate Integrity Agreement. According to the U.S. Department of Justice,
23

24   “[f]rom 2010 to 2018, Purdue's profits were almost entirely driven by its success in selling

25   OxyContin.”
26
            54.     The Sacklers did not sell Purdue or enter into a merger, but their goal of extracting
27
     wealth from the business was realized. The Sackler family has withdrawn over $10 billion from
28

                                                      12
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1    Purdue since 2008, including $1.7 billion in 2009 alone. These distributions were made possible
2
     by McKinsey's services and came at the expense of a deepening national opioid crisis.
3
            D.      McKinsey knew about dangers of opioids and acted to maximize OxyContin
4                   prescriptions anyway
5           55.     McKinsey has a long history of consulting in the pharmaceutical industry. In
6
     addition to its work with Purdue, McKinsey has performed “opioid-related work” for Johnson &
7
     Johnson, Endo International, and Mallinckrodt Pharmaceuticals. McKinsey’s sales efforts for
8

9    these companies were tragically similar to the Purdue “TURBO CHARGE.” For instance, a

10   McKinsey presentation prepared for Johnson & Johnson recommended that Johnson & Johnson
11   aggressively target and influence doctors treating back pain in order to increase opioid sales.
12
            56.     Purdue’s 2007 guilty plea put McKinsey on notice of Purdue’s misconduct. By
13
     that time, McKinsey had access to public information indicating that OxyContin and other opioids
14

15   pose significant risk of addiction and misuse.

16          57.     McKinsey's presentations to Purdue in 2013 included extensive discussion of
17   doctors' concerns about opioid misuse and side effects, demonstrating McKinsey's awareness of
18
     the dangers of opioids. Rather than working to limit these disastrous effects, McKinsey treated
19
     doctors' misgivings as obstacles to confront with new messaging.
20

21          58.     McKinsey continued working with Purdue long after the severity of the opioid

22   crisis was well known. In 2017, McKinsey proposed that Purdue pay CVS and other distributors
23   of OxyContin rebates “for every OxyContin overdose attributable to pills they sold.”
24
            59.     A former McKinsey consultant described McKinsey's work with Purdue as “the
25
     banality of evil, M.B.A. edition...They knew what was going on. And they found a way to look
26

27   past it, through it, around it, so as to answer the only questions they cared about: how to make the

28   client money, and when the walls closed in, how to protect themselves.”
                                                      13
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1            60.     In a 2018 email thread, apparently fearing consequences for McKinsey's work with
2
     Purdue, two McKinsey senior partners who had participated in McKinsey’s work advising Purdue
3
     discussed deleting documents related to opioids.
4
             E.      Purdue's 2020 Guilty Plea and McKinsey's Recent Statement
5

6            61.     In October of 2020, Purdue once again reached an agreement (the “2020

7    Settlement Agreement”) with the U.S. Department of Justice to enter a guilty plea related to its
8
     marketing of OxyContin. The agreement includes $8.3 billion in penalties from Purdue and $225
9
     million from the Sackler family.
10
             62.     In the 2020 Settlement Agreement, Purdue pleaded guilty to defrauding health
11

12   agencies, violating anti-kickback laws, paying illegal kickbacks to doctors, and “using aggressive

13   marketing tactics to convince doctors to unnecessarily prescribe opioids--frivolous prescriptions
14
     that experts say helped fuel a drug addiction crisis that has ravaged America for decades.”
15
             63.     The 2020 Settlement Agreement was entered by Purdue and the United States
16
     government. It explicitly states that it does not release Purdue of “[a]ny liability for claims of the
17

18   states or Indian tribes.”

19           64.     The 2020 Settlement Agreement includes a provision specifically reserving claims
20
     regarding “[a]ny liability of entities other than the [Purdue Bankruptcy] Debtors, including
21
     consultants.”
22
             65.     On December 5, 2020, McKinsey issued the following statement regarding its
23

24   work with Purdue:

25                   December 5, 2020—As we look back at our client service during the
                     opioid crisis, we recognize that we did not adequately acknowledge
26
                     the epidemic unfolding in our communities or the terrible impact of
27                   opioid misuse and addiction on millions of families across the country.
                     That is why last year we stopped doing any work on opioid-specific
28                   business, anywhere in the world.
                                                       14
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1                    Our work with Purdue was designed to support the legal prescription
                     and use of opioids for patients with legitimate medical needs, and any
2
                     suggestion that our work sought to increase overdoses or misuse and
3                    worsen a public health crisis is wrong. That said, we recognize that
                     we have a responsibility to take into account the broader context and
4                    implications of the work that we do. Our work for Purdue fell short of
                     that standard.
5

6                    We have been undertaking a full review of the work in question,
                     including into the 2018 email exchange which referenced potential
7                    deletion of documents. We continue to cooperate fully with the
                     authorities investigating these matters.
8

9            66.     In recent weeks, McKinsey has settled opioid-related claims with 49 states, the

10   District of Columbia, and five U.S. territories. McKinsey complete rebuffed Native Americans
11   and Indian tribes.
12
             67.     McKinsey took further action recently by firing its CEO who had agreed to the 49-
13
     state settlement, with the indication that the CEO had made a mistake in confessing the
14

15   wrongdoing of McKinsey.

16           F.      Impact of Opioid Abuse, Addiction and Diversion on American Indians and
                     Alaska Natives
17
             68.     There are 574 federally recognized Tribes in the United States, located within the
18

19   borders of 35 states. They are diverse in terms of their size, geography, culture, and resources,

20   but they share a status as sovereign governments responsible for the health and well-being of their
21
     citizens.
22
             69.     Native Americans have disproportionately borne the toll of the opioid crisis.
23
             70.     Native Americans suffer the highest per capita rate of opioid overdoses.
24

25           71.     According to the Indian Health Service (“IHS”), there has been a “four-fold

26   increase in opioid overdoses from 1999 to 2013 among American Indians and Alaska Natives . . .
27
     [T]wice the rate of the general U.S. population.”
28

                                                     15
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1           72.     The CDC reported that the “rates of death from prescription opioid overdose
2
     among American Indian or Alaska Natives increased almost four-fold from 1.3 per 100,000 in
3
     1999 to 5.1 per 100,000 in 2013.” By 2014, the CDC reported “8.4 per 100,000 Native Americans
4
     were dying of opioid overdoses, the highest number of any racial demographic.”
5

6           73.     In 2014, Native Americans had the highest death rate from opioid overdoses out

7    of any ethnic group in the country.
8
            74.     The impact on Native American children is particularly devastating. In a study
9
     conducted to examine substance-related disorders among adolescents across racial and ethnic
10
     groups, “Racial/Ethnic Variations in Substance-Related Disorders Among Adolescents in the
11

12   United States,” the authors found, of 72,561 adolescents aged 12 to 17 years:

13          a.      Analgesic opioids were the second most commonly used illegal drug after
                    marijuana;
14

15          b.      Analgesic opioid use was comparatively prevalent among Native American
                    adolescents (9.7%);
16
            c.      Native Americans have the highest prevalence of use (47.5%) and disorders
17
                    (15.0%); and
18
            d.      31.5% of Native Americans had substance-related disorders.
19
            75.     The study concluded:
20

21                  Native Americans have the highest prevalence of substance use and
                    substance-related disorders, adding to evidence that young Native
22                  Americans are a vulnerable group facing numerous stressors, trauma,
                    and health disparities (e.g., highest rate of suicide, underfunded
23                  systems of care, and lack of access to appropriate care). The results
                    herein highlight a critical need for intervention to reduce their
24                  burdens from substance use and for policies to address presently
                    underfunded systems of care and improve infrastructures linking
25                  behavioral and primary health care services. [footnotes omitted.]
26          76.     The CDC reported that approximately 1 in 10 Native American youths ages 12 or
27
     older used prescription opioids for nonmedical purposes in 2012, double the rate for white youth.
28

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1           77.     The fact that adolescents are able to easily obtain prescription opioids through the
2
     black market created by opioid diversion highlights the direct impact on Plaintiff and its
3
     community by Purdue and McKinsey’s actions and inactions.
4
            78.     Even the youngest members of tribal communities bear the consequences of the
5

6    opioid abuse epidemic fueled by McKinsey’s conduct working with Purdue and other

7    manufacturers of opioids. Between 2009 and 2012, “American Indian women [were] 8.7 times
8
     more likely to be diagnosed with maternal opiate dependence or abuse during pregnancy,”
9
     compared to non-Hispanic women. That translates into 1 in 10 pregnancies among American
10
     Indian women. As a result, many tribal infants suffer from opioid withdrawal and Neonatal
11

12   Abstinence Syndrome (“NAS”).

13          79.     Infants suffering from NAS are separated from their families and placed into the
14
     custody of the tribal child welfare services or receive other government services so they can be
15
     afforded medical treatment and be protected from drug-addicted parents.
16
            80.     The impact of NAS can be life-long. Most NAS infants are immediately
17

18   transferred to a neonatal intensive care unit for a period of days, weeks, or even months. NAS can

19   also require an emergency evacuation for care to save the infant’s life. Such emergency
20
     transportation costs thousands of dollars for each occurrence.
21
            81.     Many NAS infants have short-term and long-term developmental issues that
22
     prevent them from meeting basic cognitive and motor-skills milestones. Many will suffer from
23

24   vision and digestive issues; some are unable to attend full days of school. These disabilities follow

25   these children through elementary school and beyond.
26
            82.     Many of the parents of these children continue to relapse into prescription opioid
27
     use and abuse, having an impact on their families and tribal communities for financial and other
28

                                                      17
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1    support.
2
            G.      The Impact of McKinsey’s Work with Opioid Manufacturers on Plaintiff
3
            83.     Lac du Flambeau’s own experience treating opioids illustrates these national
4
     trends and those of the tribal community generally.
5

6           84.     Indeed, Lac du Flambeau is currently facing a public health crisis that threatens to

7    undermine the safety and well-being of the entire community living on and adjacent to Lac du
8
     Flambeau lands. Overarching health, public safety and law enforcement concerns relate to, among
9
     others, prescription opioid drug abuse and major crimes involving opioid and drug use.
10
            85.     The opioid epidemic has escalated in the Lac du Flambeau community with
11

12   devastating effects. Substantial opiate-related substance abuse, hospitalization, and death mirror

13   the distribution of opioids.
14
            86.     Because of the well-established relationship between the use of prescription
15
     opioids and the use of non-prescription opioids, such as heroin, the increasing distribution of
16
     opioids to members of Lac du Flambeau caused the opioid epidemic to include heroin addiction,
17

18   abuse, and death. This is particularly concerning in light of the recent influx of synthetic fentanyl

19   products trafficked into and around the United States.
20
            87.     In addition, there has been an increase in major crimes on the Nation’s reservation
21
     involving opioid use, including reports of human trafficking involving opioid abuse and addiction,
22
     undermining the safety of the members of Lac du Flambeau.
23

24          88.     Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

25   health and safety in the Lac du Flambeau community.
26
            89.     Costs for treatment related to the misuse, addiction, and/or overdose of opioids
27
     Lac du Flambeau has borne include but are not limited to the following:
28

                                                      18
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1           a.      Emergency medical visits for opioid misuse, addiction, and/or overdose.
2
            b.      Emergency medical visits for infections, injuries, illnesses, and drug-seeking
3                   related to opioid misuse, addiction, and/or overdose.

4           c.      Hospitalizations related to the misuse, addiction, and/or overdose of opioids.
5
            d.      Increased costs of administering and staffing the Nation’s social services and
6                   resources aid (1) those members of the Nation addicted to and/or dependent on
                    opioids; (2) the resulting abuse or neglect of children and elders whose guardians
7                   are addicted to opioids; and (3) the many foster or adoptive guardians who take on
                    the role of caretaker in their absence.
8

9           e.      Increased costs of administering and staffing the Nation’s public safety
                    infrastructure, personnel, and resources to respond to increased opioid and related
10                  drug trafficking and human trafficking, including coordination with County and
                    federal law enforcement.
11

12          f.      Care, education and support of pregnant women addicted to opioids and of their
                    children born with NAS; including ongoing educational and developmental
13                  support to address the long-term consequences of fetal opioid exposure; and
14
            g.      Treatment of victims and criminal offenders in the tribal court, including holistic
15                  community-based treatment programming and regular drug screening.

16          H.      Tolling of Statutes of Limitations
17                  1.      Equitable Estoppel and Fraudulent Concealment
18
            90.     McKinsey is equitably estopped from relying upon a statute of limitations defense
19
     because, alongside Purdue, McKinsey undertook active efforts to deceive Plaintiff and to
20

21   purposefully conceal their unlawful conduct and fraudulently assure the public and Plaintiff that

22   they were undertaking efforts to comply with their obligations under the state and federal
23   controlled substances laws, all with the goal of protecting their registered manufacturer or
24
     distributor status in the State and to continue generating profits. Notwithstanding the allegations
25
     set forth above, McKinsey and Purdue affirmatively assured the public and Plaintiff that they
26

27   were working to curb the opioid epidemic. Until late 2020, McKinsey’s instrumental role in the

28   opioid epidemic and crisis had been concealed from the public and from Lac du Flambeau.
                                                     19
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1              91.    McKinsey and Purdue were deliberate in taking steps to conceal their
2
     conspiratorial behavior and active role in the deceptive marketing and the oversupply of opioids
3
     through overprescribing and suspicious sales, all of which fueled the opioid epidemic.
4
               92.    McKinsey’s consulting services were given confidentially, and both McKinsey
5

6    and Purdue concealed the content of those services from the public. Even many of Attorney

7    Generals of several states were unaware of McKinsey’s wrongful conduct in creating and
8
     fostering the opioid epidemic.
9
               93.    McKinsey and its clients also concealed from Plaintiff the existence of Plaintiff’s
10
     claims by hiding their lack of cooperation with law enforcement and affirmatively seeking to
11

12   convince the public that Purdue’s legal duties to report suspicious sales had been satisfied through

13   public assurances that they were working to curb the opioid epidemic. They publicly portrayed
14
     themselves as committed to working diligently with law enforcement and others to prevent
15
     diversion of these dangerous drugs and curb the opioid epidemic, and they made broad promises
16
     to change their ways insisting they were good corporate citizens.                  These repeated
17

18   misrepresentations misled regulators, prescribers and the public, including Plaintiff, and deprived

19   Plaintiff of actual or implied knowledge of facts sufficient to put Plaintiff on notice of potential
20
     claims.
21
               94.    Plaintiff did not discover the nature, scope and magnitude of McKinsey's
22
     misconduct, and its full impact on Plaintiff, and could not have acquired such knowledge earlier
23

24   through the exercise of reasonable diligence.

25             95.    McKinsey’s campaign to misrepresent and conceal the truth about the opioid drugs
26
     that they were aggressively pushing on Plaintiff deceived the medical community, consumers,
27
     and Plaintiff.
28

                                                       20
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1            96.     McKinsey intended that their wrongful conduct, schemes, actions and omissions
2
     made in tandem with its clients would be relied upon by the public and the medical community,
3
     including by Lac du Flambeau. Plaintiff did not know and did not have the means to know the
4
     truth, as even those charged with the enforcement of laws, many states’ Attorneys General, did
5

6    not know.

7            97.     Plaintiff reasonably relied on McKinsey and Purdue's affirmative statements
8
     regarding their purported compliance with their obligations under the law and consent orders.
9
                     2.     McKinsey and Purdue Persisted in The Fraudulent Scheme Despite a
10                          Guilty Plea and Large Fine
11           98.     In May 2007, Purdue and three of its executives pled guilty to federal charges of
12
     misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors
13
     about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,
14

15   Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented

16   the risk of addiction and was unsupported by science. Additionally, Michael Friedman, the
17   company’s president, pled guilty to a misbranding charge and agreed to pay $19 million in fines;
18
     Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and
19
     Paul D. Goldenheim, its former medical director, pled guilty as well and agreed to pay $7.5
20

21   million in fines.

22           99.     After Purdue made its guilty plea in 2007 and various settlements and consent
23   judgments with states’ Attorneys General, McKinsey strategized to assemble an army of lobbyists
24
     to fight any legislative actions that might encroach on its business. Between 2006 and 2015,
25
     Purdue and other opioid businesses, along with their associated nonprofits, spent nearly $900
26

27   million dollars on lobbying and political contributions— eight times what the gun lobby spent

28   during that period. McKinsey participated extensively in these actions and provided Purdue with
                                                     21
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1    strategies and assistance to maximize sales as described in this complaint.
2
             100.    As all of the government actions against the Purdue and McKinsey demonstrate,
3
     McKinsey knew that the actions it took with Purdue were unlawful, and yet deliberately
4
     proceeded in order to increase Purdue's sales and profits, and in turn to serve McKinsey's financial
5

6    interests.

7    V.      FACTUAL ALLEGATIONS PERTAINING TO CLAIMS UNDER THE
             RACKETEER-INFLUENCED AND CORRUPT ORGANIZATIONS (RICO)
8
             ACT: THE OPIOID MARKETING ENTERPRISE
9
             A.      The Common Purpose and Scheme of the Opioid Marketing Enterprise
10
             101.    Knowing that their products were highly addictive, ineffective and unsafe for the
11

12   treatment of long-term chronic pain, non-acute and non-cancer pain, McKinsey, who participated

13   in the marketing and sale of opioids as described in this complaint, and manufacturers of opioids,
14   including Purdue, Johnson & Johnson, Cephalon, Janssen, Endo, Mallinckrodt, and JOHN DOES
15
     1-100 (collectively, including McKinsey, the “Opioid Marketing Enterprise Members”) formed
16
     an association-in-fact enterprise and engaged in a scheme to unlawfully increase their profits and
17

18   sales, and grow their share of the prescription painkiller market, through repeated and systematic

19   misrepresentations about the safety and efficacy of opioids for treating long-term chronic pain.
20           102.    In order to unlawfully increase the demand for opioids, the Opioid Marketing
21
     Enterprise Members formed an association-in-fact enterprise (the “Opioid Marketing
22
     Enterprise”).   Through their personal relationships, the members of the Opioid Marketing
23

24   Enterprise had the opportunity to form and take actions in furtherance of the Opioid Marketing

25   Enterprise’s common purpose. The Opioid Marketing Enterprise Members' substantial financial
26   contribution to the Opioid Marketing Enterprise, and the advancement of opioids-friendly
27
     messaging, fueled the U.S. opioids epidemic.
28

                                                      22
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1           103.    The Opioid Marketing Enterprise Members, through the Opioid Marketing
2
     Enterprise, concealed the true risks and dangers of opioids from the medical community and the
3
     public, including Plaintiff, and made misleading statements and misrepresentations about opioids
4
     that downplayed the risk of addiction and exaggerated the benefits of opioid use. The misleading
5

6    statements included: (1) that addiction is rare among patients taking opioids for pain; (2) that

7    addiction risk can be effectively managed; (3) that symptoms of addiction exhibited by opioid
8
     patients are actually symptoms of an invented condition the Opioid Marketing Enterprise
9
     Members named “pseudoaddiction”; (4) that withdrawal is easily managed; (5) that increased
10
     dosing presents no significant risks; (6) that long-term use of opioids improves function; (7) that
11

12   the risks of alternative forms of pain treatment are greater than the adverse effects of opioids;

13   (8) that use of time-released dosing prevents addiction; (9) that abuse-deterrent formulations
14
     provide a solution to opioid abuse; and (10) that opioids would bring patients freedom and peace
15
     of mind.
16
            104.    The scheme devised, implemented and conducted by the Opioid Marketing
17

18   Enterprise Members was a common course of conduct designed to ensure that the Opioid

19   Marketing Enterprise Members unlawfully increased their sales and profits through concealment
20
     and misrepresentations about the addictive nature and effective use of the Opioid Marketing
21
     Enterprise Members’ drugs. The Opioid Marketing Enterprise Members acted together for a
22
     common purpose and perpetuated the Opioid Marketing Enterprise’s scheme, including through
23

24   the unbranded promotion and marketing network as described above.

25          105.    There was regular communication between the Opioid Marketing Enterprise
26
     Members in which information was shared, misrepresentations were coordinated, and payments
27
     were exchanged. The Opioid Marketing Enterprise Members functioned as a continuing unit for
28

                                                     23
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1    the purpose of implementing the Opioid Marketing Enterprise’s scheme and common purpose,
2
     and each agreed and took actions to hide the scheme and continue its existence.
3
               106.    As public scrutiny and media coverage focused on how opioids ravaged
4
     communities in throughout the United States, McKinsey did not challenge Purdue or other
5

6    manufacturers' misrepresentations, seek to correct their previous misrepresentations, terminate

7    their role in the Opioid Marketing Enterprise, nor disclose publicly that the risks of using opioids
8
     for chronic pain outweighed their benefits and were not supported by medically acceptable
9
     evidence. Instead, McKinsey continued to participate in the Opioid Marketing Enterprise for
10
     financial gain.
11

12             107.    The Opioid Marketing Enterprise Members engaged in certain discrete categories

13   of activities in furtherance of the common purpose of the Opioid Marketing Enterprise. The
14
     Opioid Marketing Enterprise’s conduct in furtherance of the common purpose of the Opioid
15
     Marketing Enterprise involved misrepresentations regarding the risk of addiction and safe use of
16
     prescription opioids for long-term chronic pain, including targeting physicians with misleading
17

18   claims.

19             108.    The impact of the Opioid Marketing Enterprise’s scheme is still in place—i.e., the
20
     opioids continue to be prescribed and used for chronic pain throughout the area of the Plaintiff,
21
     and the epidemic continues to injure Plaintiff, and consume Plaintiff’s resources.
22
               109.    As a result, it is clear that the Opioid Marketing Enterprise Members, including
23

24   McKinsey, were each willing participants in the Opioid Marketing Enterprise, had a common

25   purpose and interest in the object of the scheme, and functioned within a structure designed to
26
     effectuate the Enterprise’s purpose.
27

28

                                                       24
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1           B.     The Conduct of the Opioid Marketing Enterprise Violated Civil RICO
2
            110.   From at least 2004 to the present, each of the Opioid Marketing Enterprise
3
     Members exerted control over the Opioid Marketing Enterprise and participated in the operation
4
     or management of the affairs of the Opioid Marketing Enterprise, directly or indirectly, in the
5

6    following ways:

7           a.     Creating and providing a body of deceptive, misleading and unsupported medical
                   and popular literature about opioids that (i) understated the risks and overstated
8
                   the benefits of long-term use; (ii) appeared to be the result of independent,
9                  objective research; and (iii) was thus more likely to be relied upon by physicians,
                   patients, and payors;
10
            b.     Creating and providing a body of deceptive, misleading and unsupported
11
                   electronic and print advertisements about opioids that (i) understated the risks and
12                 overstated the benefits of long-term use; (ii) appeared to be the result of
                   independent, objective research; and (iii) was thus more likely to be relied upon
13                 by physicians, patients, and payors;
14
            c.     Creating and providing a body of deceptive, misleading and unsupported sales and
15                 promotional training materials about opioids that (i) understated the risks and
                   overstated the benefits of long-term use; (ii) appeared to be the result of
16                 independent, objective research; and (iii) was thus more likely to be relied upon
                   by physicians, patients, and payors;
17

18          d.     Devised and implemented marketing schemes that included targeting and
                   misleading physicians, unlawfully incentivizing sales representatives to maximize
19                 prescriptions and dosages, and evading regulatory constraints.
20
            e.     Disseminating many of their false, misleading, imbalanced, and unsupported
21                 statements through unbranded materials that appeared to be independent
                   publications; and
22
            f.     Using front groups and key opinion leaders (“KOLs”) to mislead the public about
23
                   opioids.
24
            111.   The scheme devised and implemented by the Opioid Marketing Enterprise
25
     Members amounted to a common course of conduct intended to increase the Opioid Marketing
26

27   Enterprise Members’ sales from prescription opioids by encouraging the prescribing and use of

28   opioids for long-term chronic pain. The scheme was a continuing course of conduct, and many
                                                    25
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1    aspects of it continue through to the present.
2
             C.      Pattern of Racketeering Activity
3
             112.    The Opioid Marketing Enterprise Members’ scheme described herein was
4
     perpetrated, in part, through multiple acts of mail fraud and wire fraud, constituting a pattern of
5

6    racketeering activity as described herein.

7            113.    The pattern of racketeering activity used by the Opioid Marketing Enterprise
8
     Members and the Opioid Marketing Enterprise likely involved thousands of separate instances of
9
     the use of the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid
10
     Marketing Enterprise, including essentially uniform misrepresentations, concealments and
11

12   material omissions regarding the beneficial uses and non-addictive qualities for the long-term

13   treatment of chronic, non-acute and non-cancer pain, with the goal of profiting from increased
14
     sales of the Opioid Marketing Enterprise Members’ drugs induced by consumers, prescribers,
15
     regulators and Plaintiff’s reliance on the Opioid Marketing Enterprise Members’
16
     misrepresentations.
17

18           114.    Each of these fraudulent mailings and interstate wire transmissions constitutes

19   racketeering activity and collectively, these violations constitute a pattern of racketeering activity,
20
     through which the Opioid Marketing Enterprise Members defrauded and intended to defraud
21
     Plaintiff, and other intended victims.
22
             115.    The Opioid Marketing Enterprise Members devised and knowingly carried out an
23

24   illegal scheme and artifice to defraud by means of materially false or fraudulent pretenses,

25   representations, promises, or omissions of material facts regarding the safe, non-addictive and
26
     effective use of opioids for long-term chronic, non-acute and non-cancer pain. The Opioid
27
     Marketing Enterprise Members and members of the Opioid Marketing Enterprise knew that these
28

                                                       26
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1    representations violated the FDA approved use these drugs, and were not supported by actual
2
     evidence. The Opioid Marketing Enterprise Members intended that their common purpose and
3
     scheme to defraud would, and did, use the U.S. Mail and interstate wire facilities, intentionally
4
     and knowingly with the specific intent to advance, and for the purpose of executing, their illegal
5

6    scheme.

7            116.   By intentionally concealing the material risks and affirmatively misrepresenting
8
     the benefits of using opioids for chronic pain, to, prescribers, regulators and the public, including
9
     Plaintiff, the Opioid Marketing Enterprise Members engaged in a fraudulent and unlawful course
10
     of conduct constituting a pattern of racketeering activity.
11

12           117.   The Opioid Marketing Enterprise Members’ use of the U.S. Mail and interstate

13   wire facilities to perpetrate the opioids marketing scheme involved thousands of communications,
14
     publications, representations, statements, electronic transmissions, payments, including, inter
15
     alia:
16
             a.     Marketing materials about opioids, and their risks and benefits, which the Opioid
17
                    Marketing Enterprise Members sent to health care providers, transmitted through
18                  the internet and television, published, and transmitted to front groups and KOLs
                    located across the country and Plaintiff;
19
             b.     Written representations and telephone calls among the Opioid Marketing
20
                    Enterprise Members, and between the Opioid Marketing Enterprise Members and
21                  front groups, regarding the misrepresentations, marketing statements and claims
                    about opioids, including the non-addictive, safe use of chronic long-term pain
22                  generally;
23
             c.     Written representations and telephone calls among the Opioid Marketing
24                  Enterprise Members, and between the Opioid Marketing Enterprise Members and
                    KOLs regarding the misrepresentations, marketing statements and claims about
25                  opioids, including the non-addictive, safe use of chronic long-term pain generally
26
             d.     E-mails, telephone and written communications among the Opioid Marketing
27                  Enterprise Members, and between the Opioid Marketing Enterprise Members and
                    the front groups agreeing to or implementing the opioids marketing scheme;
28

                                                      27
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1           e.       E-mails, telephone and written communications among the Opioid Marketing
                     Enterprise Members, and between the Opioid Marketing Enterprise Members and
2
                     the KOLs agreeing to or implementing the opioids marketing scheme;
3
            f.       Communications among the Opioid Marketing Enterprise Members, and between
4                    the Opioid Marketing Enterprise Members, front groups and the media regarding
                     publication, drafting of treatment guidelines, and the dissemination of the same as
5
                     part of the Opioid Marketing Enterprise;
6
            g.       Communications among the Opioid Marketing Enterprise Members, and between
7                    the Opioid Marketing Enterprise Members, KOLs and the media regarding
                     publication, drafting of treatment guidelines, and the dissemination of the same as
8
                     part of the Opioid Marketing Enterprise;
9
            h.       Written and oral communications directed to Plaintiff and/or its members and that
10                   fraudulently misrepresented the risks and benefits of using opioids for chronic
                     pain; and
11

12          i.       Receipts of increased profits sent through the U.S. Mail and interstate wire
                     facilities—the wrongful proceeds of the scheme.
13
            118.     In addition to the above-referenced predicate acts, it was intended by and
14

15   foreseeable to the Opioid Marketing Enterprise Members that the front groups and the KOLs

16   would distribute publications through the U.S. Mail and by interstate wire facilities, and, in those
17   publications, claim that the benefits of using opioids for chronic pain outweighed the risks of
18
     doing so.
19
            119.     To achieve the common goal and purpose of the Opioid Marketing Enterprise, the
20

21   Opioid Marketing Enterprise Members and members of the Opioid Marketing Enterprise hid from

22   the consumers, prescribers, regulators and the Plaintiff: (a) the fraudulent nature of the Opioid
23   Marketing Enterprise Members’ marketing scheme; (b) the fraudulent nature of statements made
24
     by the Opioid Marketing Enterprise Members and by their KOLs, front groups and other third
25
     parties regarding the safety and efficacy of prescription opioids; and (c) the true nature of the
26

27   relationship between the members of the Opioid Marketing Enterprise.

28

                                                      28
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1            120.    The Opioid Marketing Enterprise Members, and each member of the Opioid
2
     Marketing Enterprise agreed, with knowledge and intent, to the overall objective of the Opioid
3
     Marketing Enterprise Members’ fraudulent scheme and participated in the common course of
4
     conduct to commit acts of fraud and indecency in marketing prescription opioids.
5

6            121.    Indeed, for the Opioid Marketing Enterprise Members’ fraudulent scheme to work,

7    each of them had to agree to implement similar tactics regarding fraudulent marketing of
8
     prescription opioids. This conclusion is supported by the fact that opioid manufacturers among
9
     the Opioid Marketing Enterprise Members financed, supported, and worked through the same
10
     KOLs and Front groups, and often collaborated on and mutually supported the same publications,
11

12   CMEs, presentations, and prescription guidelines.

13           122.    The Opioid Marketing Enterprise Members’ predicate acts all had the purpose of
14
     creating the opioid epidemic that substantially injured Plaintiff’s business and property, while
15
     simultaneously generating billion-dollar revenue and profits for the Opioid Marketing Enterprise
16
     Members. The predicate acts were committed or caused to be committed by the Opioid Marketing
17

18   Enterprise Members through their participation in the Opioid Marketing Enterprise and in

19   furtherance of its fraudulent scheme.
20
     VI.     CAUSES OF ACTION
21
             A.      Count I: Racketeer Influenced and Corrupt Organizations (RICO), 18 U.S.C.
22                   § 1961, et seq.
23           123.    Plaintiff incorporates by reference all preceding paragraphs of this Complaint as
24
     if fully set forth herein and further allege as follows:
25
             124.    This claim is brought by Plaintiff against Defendants for actual damages, treble
26
     damages, and equitable relief under 18.U.S.C. § 1964, for violations of 18 U.S.C. § 1961, et seq.
27

28           125.    At all relevant times, McKinsey is and has been a “person” under 18 U.S.C. §

                                                       29
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1    1961(3) because it is capable of holding, and does hold, “a legal or beneficial interest in property.”
2
            126.    Plaintiff is a “person,” as that term is defined in 18 U.S.C. § 1961(3), and has
3
     standing to sue as it was and is injured in its business and/or property as a result of Defendant’s
4
     wrongful conduct described herein.
5

6           127.    The Opioid Marketing Enterprise conducted an association-in-fact enterprise,

7    and/or participated in the conduct of an enterprise, through a pattern of illegal activities (the
8
     predicate racketeering acts of mail and wire fraud) to carry out the common purpose of the Opioid
9
     Marketing Enterprise, i.e., to unlawfully increase profits and revenues from the continued
10
     prescription and use of opioids for long-term chronic pain. Through the racketeering activities of
11

12   the Opioid Marketing Enterprise, the Opioid Marketing Enterprise Members sought to further the

13   common purpose of the Enterprise through a fraudulent scheme to change prescriber habits and
14
     public perception about the safety and efficacy of opioid use. In so doing, each of the Opioid
15
     Marketing Enterprise Members knowingly conducted and participated in the conduct of the
16
     Opioid Marketing Activities by engaging in mail and wire fraud in violation of 18 U.S.C. §§
17

18   1962(c) and (d).

19          128.    The Opioid Marketing Enterprise is an association-in-fact enterprise that consists
20
     of the Opioid Marketing Enterprise Members.
21
            129.    Each of the Opioid Marketing Enterprise Members conducted and participated in
22
     the conduct of the Opioid Marketing Enterprise by playing a distinct role in furthering the
23

24   Enterprise’s common purpose of increasing profits and sales through the knowing and intentional

25   dissemination of false and misleading information about the safety and efficacy of long-term
26
     opioid use, and the risks and symptoms of addiction, in order to increase the market for
27
     prescription opioids by changing prescriber habits and public perceptions.
28

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1           130.      Specifically, the Opioid Marketing Enterprise Members each worked together to
2
     coordinate the Enterprise’s goals and conceal their role, and the Enterprise’s existence, from the
3
     public by, among other things, (i) funding, editing, and distributing publications that supported
4
     and advanced their false messages; (ii) funding KOLs to further promote their false messages;
5

6    and (iii) tasking their own employees to direct deceptive marketing materials and pitches directly

7    at physicians.
8
            131.      Further, each of the Opioid Marketing Enterprise Members had systematic links
9
     to and personal relationships with each other through joint participation in lobbying groups, trade
10
     industry organizations, contractual relationships, and continuing coordination of activities. The
11

12   systematic links and personal relationships that were formed and developed allowed members of

13   the Opioid Marketing Enterprise the opportunity to form the common purpose and agree to
14
     conduct and participate in the conduct of the Opioid Marketing Enterprise. Specifically, each of
15
     the Opioid Marketing Enterprise Members, including McKinsey working with and through the
16
     other Opioid Marketing Enterprise Members, coordinated their efforts through the same KOLs
17

18   and front groups based on their agreement and understanding that the front groups and KOLs

19   were industry friendly and would work together with the Opioid Marketing Enterprise Members
20
     to advance the common purpose of the Opioid Marketing Enterprise, and each of the individuals
21
     and entities who formed the Opioid Marketing Enterprise acted to enable the common purpose
22
     and fraudulent scheme of the Opioid Marketing Enterprise.
23

24          132.      At all relevant times, the Opioid Marketing Enterprise: (a) had an existence

25   separate and distinct from each RICO Marketing Defendant and its members; (b) was separate
26
     and distinct from the pattern of racketeering in which the Opioid Marketing Enterprise Members
27
     engaged; (c) was an ongoing and continuing organization consisting of individuals, persons, and
28

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1    legal entities, including each of the Opioid Marketing Enterprise Members; (d) was characterized
2
     by interpersonal relationships between and among each member of the Opioid Marketing
3
     Enterprise; and (e) had sufficient longevity for the Enterprise to pursue its purpose and functioned
4
     as a continuing unit.
5

6           133.    The Opioid Marketing Enterprise Members conducted and participated in the

7    conduct of the Opioid Marketing Enterprise through a pattern of racketeering activity that
8
     employed the use of mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and §
9
     1343 (wire fraud), to increase profits and revenue by changing prescriber habits and public
10
     perceptions in order to increase the prescription and use of prescription opioids and expand the
11

12   market for opioids.

13          134.    The Opioid Marketing Enterprise Members each committed, conspired to commit,
14
     and/or aided and abetted in the commission of at least two predicate acts of racketeering activity
15
     (i.e., violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of
16
     racketeering activity that the Opioid Marketing Enterprise Members committed, or aided and
17

18   abetted in the commission of, were related to each other, posed a threat of continued racketeering

19   activity, and therefore constitute a “pattern of racketeering activity.” The racketeering activity
20
     was made possible by the Opioid Marketing Enterprise Members’ regular use of the facilities,
21
     services, distribution channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail,
22
     and interstate wire facilities. The Opioid Marketing Enterprise Members participated in the
23

24   scheme to defraud by using mail, telephones, and the Internet to transmit mailings and wires in

25   interstate or foreign commerce.
26
            135.    The Opioid Marketing Enterprise Members’ predicate acts of racketeering (18
27
     U.S.C. § 1961(1)) include, but are not limited to:
28

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1               a. Mail Fraud: The Opioid Marketing Enterprise Members violated 18 U.S.C. § 1341
                   by sending or receiving, or by causing to be sent and/or received, materials via
2
                   U.S. mail or commercial interstate carriers for the purpose of executing the
3                  unlawful scheme to design, manufacture, market, and sell the prescription opioids
                   by means of false pretenses, misrepresentations, promises, and omissions.
4
                b. Wire Fraud: The Opioid Marketing Enterprise Members violated 18 U.S.C. § 1343
5                  by transmitting and/or receiving, or by causing to be transmitted and/or received,
6                  materials by wire for the purpose of executing the unlawful scheme to design,
                   manufacture, market, and sell the prescription opioids by means of false pretenses,
7                  misrepresentations, promises, and omissions.
8           136.    Indeed, as summarized herein, the Opioid Marketing Enterprise Members used the
9
     mail and wires to send or receive thousands of communications, publications, representations,
10
     statements, electronic transmissions, and payments to carry out the Opioid Marketing Enterprise’s
11

12   fraudulent scheme.

13          137.    Because the Opioid Marketing Enterprise Members disguised their participation
14   in the Enterprise, and worked to keep even the Enterprise’s existence secret so as to give the false
15
     appearance that their false messages reflected the views of independent third parties, many of the
16
     precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and interstate wire
17

18   facilities (and corresponding predicate acts of mail and wire fraud) have been hidden and cannot

19   be alleged without access to the books and records maintained by the Opioid Marketing Enterprise
20   Members, front groups, and KOLs. Indeed, an essential part of the successful operation of the
21
     Opioid Marketing Enterprise alleged herein depended upon secrecy. However, Plaintiffs have
22
     described the occasions on which the Opioid Marketing Enterprise Members disseminated
23

24   misrepresentations and false statements to consumers, prescribers, regulators, and Plaintiffs, as

25   well as how those acts were in furtherance of the scheme.
26          138.    Each instance of racketeering activity alleged herein was related, had similar
27
     purposes, involved the same or similar participants and methods of commission, and had similar
28

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1    results affecting similar victims, including consumers, prescribers, regulators, and Plaintiffs. The
2
     Opioid Marketing Enterprise Members calculated and intentionally crafted the scheme and
3
     common purpose of the Opioid Marketing Enterprise to ensure their own profits remained high.
4
     In designing and implementing the scheme, the Opioid Marketing Enterprise Members
5

6    understood and intended that those in the distribution chain rely on the integrity of the

7    pharmaceutical companies and ostensibly neutral third parties to provide objective and scientific
8
     evidence regarding the Opioid Marketing Enterprise Members’ products.
9
            139.    The Opioid Marketing Enterprise Members’ pattern of racketeering activity
10
     alleged herein and the Opioid Marketing Enterprise are separate and distinct from each other.
11

12   Likewise, the Opioid Marketing Enterprise Members are distinct from the Opioid Marketing

13   Enterprise.
14
            140.    The racketeering activities conducted by the Opioid Marketing Enterprise
15
     Members amounted to a common course of conduct, with a similar pattern and purpose, intended
16
     to deceive consumers, prescribers, regulators, and the Plaintiffs. Each separate use of the U.S.
17

18   Mail and/or interstate wire facilities employed by Defendant was related, had similar intended

19   purposes, involved similar participants and methods of execution, and had the same results
20
     affecting the same victims, including consumers, prescribers, regulators, and the Plaintiffs. The
21
     Opioid Marketing Enterprise Members have engaged in the pattern of racketeering activity for
22
     the purpose of conducting the ongoing business affairs of the Opioid Marketing Enterprise.
23

24          141.    Each of the Opioid Marketing Enterprise Members aided and abetted others in the

25   violations of the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§
26
     1341 and 1343 offenses.
27
            142.    As described herein, the Opioid Marketing Enterprise Members engaged in a
28

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1    pattern of related and continuous predicate acts for years. The predicate acts constituted a variety
2
     of unlawful activities, each conducted with the common purpose of obtaining significant money
3
     and revenue from the marketing and sale of their highly addictive and dangerous drugs. The
4
     predicate acts also had the same or similar results, participants, victims, and methods of
5

6    commission. The predicate acts were related and not isolated events.

7           143.    The Opioid Marketing Enterprise Members’ violations of law and their pattern of
8
     racketeering activity directly and proximately caused Plaintiff’s injury in their business and
9
     property. The Opioid Marketing Enterprise Members’ pattern of racketeering activity logically,
10
     substantially, and foreseeably caused an opioid epidemic. Plaintiffs’ injuries, as described below,
11

12   were not unexpected, unforeseen, or independent.         Rather, as Plaintiffs allege, the Opioid

13   Marketing Enterprise Members knew that opioids were unsuited to treatment of long-term
14
     chronic, non-acute, and non-cancer pain, or for any other use not approved by the FDA, and knew
15
     that opioids were highly addictive and subject to abuse. Nevertheless, the Opioid Marketing
16
     Enterprise Members engaged in a scheme of deception that utilized the mail and wires in order to
17

18   carry out the Opioid Marketing Enterprises’ fraudulent scheme, thereby increasing sales of their

19   opioid products.
20
            144.    It was foreseeable and expected that the Opioid Marketing Enterprise Members
21
     creating and then participating in the Opioid Marketing Enterprise through a pattern of
22
     racketeering activities to carry out their fraudulent scheme would lead to a nationwide opioid
23

24   epidemic, including increased opioid addiction and overdose.

25          145.    Defendant’s misleading marketing and failure to prevent prescription opioid
26
     diversion damaged the Plaintiffs and their members and communities. Defendant’s misconduct
27
     has contributed to a range of social problems, including violence and delinquency. Adverse social
28

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1    outcomes include child neglect, family dysfunction, babies born addicted to opioids, criminal
2
     behavior, poverty, property damage, unemployment, and social despair. As a result, more and
3
     more of Plaintiffs’ resources are devoted to addiction-related problems.
4
            146.     Specifically, the Opioid Marketing Enterprise Members’ creation of, and then
5

6    participation in, the Opioid Marketing Enterprise through a pattern of racketeering activities to

7    carry out their fraudulent scheme has injured Plaintiff in the form of substantial losses of money
8
     and property that logically, directly, and foreseeably arise from the opioid-addiction epidemic.
9
     Plaintiff’s injuries, as alleged throughout this Complaint and expressly incorporated herein by
10
     reference, include:
11

12          a.       Costs for providing healthcare and medical care, additional therapeutic, and
                     prescription drug purchases, and other treatments for patients suffering from
13                   opioid-related addiction or disease, including overdoses and deaths;
14
            b.       Costs of training first responders in the proper treatment of drug overdoses;
15
            c.       Costs associated with providing first responders with naloxone—an opioid
16                   antagonist used to block the deadly effects of opioids in the context of overdose;
17
            d.       Costs associated with emergency responses by first responders to opioid
18                   overdoses;

19          e.       Costs for providing mental-health services, treatment, counseling, rehabilitation
                     services, and social services to victims of the opioid epidemic and their families;
20

21          f.       Costs for providing treatment of infants born with opioid-related medical
                     conditions, or born dependent on opioids due to drug use by mother during
22                   pregnancy;
23
            g.       Costs associated with the injuries to the health and welfare of the Plaintiff and their
24                   members caused by the opioid epidemic;

25          h.       Costs associated with providing care for children whose parents suffer from
                     opioid-related disability or incapacitation;
26

27          i.       Losses caused by the diversion of revenue from Plaintiff’s businesses to address
                     the opioid epidemic that would otherwise have been reinvested in Plaintiff’s
28                   businesses; and
                                                       36
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1
            j.       Costs associated with removal of hazardous waste from Plaintiff’s communities,
2
                     including on Plaintiff’s real property.
3
            147.     Plaintiff’s injuries were directly and thus proximately caused by these racketeering
4
     activities because they were the logical, substantial, and foreseeable cause of Plaintiff’s injuries.
5

6    But for the opioid-addiction epidemic the Opioid Marketing Enterprise Members created through

7    their Opioid Marketing Enterprise, Plaintiff would not have lost money or property, and the health
8
     and welfare of Plaintiff and its members would not have been injured.
9
            148.     Plaintiff is the most directly harmed entities and there are no other plaintiffs better
10
     suited to seek a remedy for the economic harms at issue here.
11

12          149.     As a result of the conduct of McKinsey, Plaintiff has been and continues to be

13   injured in an amount to be determined in this litigation.
14
            150.     Pursuant to 18 U.S.C. § 1964 (c), Plaintiff is entitled to recover threefold their
15
     damages, costs, and attorney’s fees. In addition, Plaintiff is entitled to injunctive relief to enjoin
16
     the racketeering activity.
17

18          B.       Count II: Violation of the Wisconsin Unfair and Deceptive Practices Act

19          151.     Lac du Flambeau re-alleges and incorporates by reference the foregoing
20
     paragraphs.
21
            152.     The Wisconsin Deceptive and Unfair Trade Practices Act (“WDTPA”), Wis. Stat.
22
     § 100.18, prohibits deceptive acts or practices in the conduct of any trade or commerce.
23

24   Defendants, individually, jointly, and severally, made representations to the public with the intent

25   to induce an obligation; the representations were untrue, deceptive, and/or misleading; and, the
26
     representations materially induced and/or caused pecuniary loss to the Plaintiff.
27
            153.     At times, places, and involving participants known exclusively to Defendant and
28

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1    concealed from Plaintiff, Defendant has engaged in unlawful, unfair, and fraudulent business
2
     practices in violation of state law. Defendant’s business practices as described in this Complaint
3
     are deceptive and violate state law because the practices are likely to deceive consumers.
4
            154.    These unlawful practices include, but are not limited to, representing that opioids
5

6    had sponsorship, approval, characteristics, ingredients, uses, or benefits which they did not have,

7    that opioids were of a particular standard, quality, or grade when they were of another, and that
8
     opioids could be safely used by all to treat chronic pain without consequence.
9

10          155.    Defendants knew and should have known at the time of making or disseminating
11
     these statements, or causing these statements to be made or disseminated, that such statements
12
     were false and misleading and therefore likely to deceive the public.
13
            156.    Defendants’ omissions, which are deceptive and misleading in their own right,
14

15   render even Defendants’ seemingly truthful statements about opioids false and misleading. All of

16   this conduct, separately and collectively, was likely to deceive Lac du Flambeau and its members.
17
            157.    The aforementioned actions and conduct of Defendants constitute violations of the
18
     WDTPA and each directly and proximately caused substantial damage and injury to Lac du
19
     Flambeau or the members of Lac du Flambeau in that Lac du Flambeau was materially induced,
20

21   mislead, or otherwise deceived by Defendants’ actions.

22          158.    The foregoing conduct constitutes an unfair, deceptive, unscrupulous, and
23
     immoral trade practice that is against public policy, in violation of WDTPA.
24
            159.    Certain wrongful acts categorically violate WDTPA.
25
            160.    As a direct and proximate result of the foregoing acts and practices, Defendant has
26

27   received, or will receive, income, profits, and other benefits, which it would not have received if

28   it had not engaged in the violations described in this Complaint.
                                                     38
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1           161.      As a direct and proximate result of the foregoing acts and practices, McKinsey
2
     have obtained an unfair advantage over similar businesses that have not engaged in such practices
3
     to the detriment of Lac du Flambeau.
4
            162.      Lac du Flambeau is entitled to recover civil penalties for each of Defendants’
5

6    violations, as well as injunctive relief, reasonable attorney’s fees, and whatever other relief may

7    be deemed appropriate.
8
            C.        Count III: Violations of Wisconsin’s Fraudulent Drug Advertising Act
9
            163.      The Lac du Flambeau re-alleges and incorporates by reference the foregoing
10
     paragraphs.
11

12          164.      Wisconsin’s Fraudulent Drug Advertising Act, Wis. Stat. § 100.182, prohibits

13   untrue, deceptive, or misleading acts or practices in the marketing and advertising of drugs.
14
            165.      Defendants, individually, jointly, and severally, made representations or caused
15
     representations to be disseminated with respect to the efficacy and safety of prescription opioids
16
     to the public; the representations were untrue, deceptive, and/or misleading; and, the
17

18   representations materially induced and/or caused pecuniary loss to the Plaintiff.

19          166.      Defendants implemented a series of misleading advertisements, falsely promoting
20
     the efficacy of prescription opioids for the treatment of chronic pain. False information included,
21
     but was not limited to, statements about the use of opioids to treat chronic pain, or misleading
22
     statements about opioids to be made or disseminated to the public and by turbo charging the
23

24   opioid market.

25          167.      Defendants implemented a series of misleading advertisements, deceptively
26
     diminishing and concealing the risks of opioid addiction and the safety of using opioids to
27
     improve quality of life.
28

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1            168.    Defendants knew or should have known, at the time it made or disseminated the
2
     false and misleading statements, or caused these states to be made or disseminated, that the
3
     statements were false or misleading and therefore likely to deceive the public.
4
             169.    Defendants knew and should have known that its false and misleading advertising
5

6    created a false or misleading impression of the risks and benefits of long-term opioid use and

7    would result in unnecessary and improper opioid prescriptions and use.
8
             170.    The aforementioned actions and conduct of the Defendants constitute violations
9
     of the Wisconsin Fraudulent Drug Advertising Act, and each directly and proximately caused
10
     substantial damage and injury to Lac du Flambeau and its members.
11

12           171.    Plaintiff is entitled to a monetary award for compensatory damages, abatement,

13   and punitive damages.
14
             D.      Count IV: Public Nuisance
15
             172.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as
16
     if fully set forth herein.
17

18           173.    The opioid epidemic is a public nuisance as it has been and is (a) injurious to the

19   public health of Lac du Flambeau and its members health; (b) indecent and/or offensive to the
20
     public and Lac du Flambeau; (c) an obstruction to the free use of Lac du Flambeau’s property and
21
     community so as to interfere with the comfortable enjoyment of Lac du Flambeau’s life or
22
     property.
23

24           174.    The public nuisance of the opioid epidemic is one which has affected, is affecting,

25   and will continue to affect, all adversely, at the same time the entire community of and or any
26
     many members of Lac du Flambeau, with the extent of the annoyance or damage inflicted upon
27
     individual members of an unequal nature.
28

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1            175.    This action is brought by the Plaintiff to abate the public nuisance created by the
2
     McKinsey.
3
             176.    McKinsey has created or assisted in the creation of a condition that is injurious to
4
     the health and interferes with the comfortable enjoyment of life and property of Lac du Flambeau,
5

6    its entire community and neighborhoods and of a considerable number of persons.

7            177.    The public nuisance is substantial and unreasonable. McKinsey’s actions caused
8
     and continue to cause the public health epidemic described above and that harm outweighs any
9
     offsetting benefit.
10
             178.    McKinsey knew and should have known that their promotion of opioids was false
11

12   and misleading and that their deceptive marketing scheme and other unlawful, unfair, and

13   fraudulent actions would create or assist in the creation of the public nuisance—the opioid
14
     epidemic.
15
             179.    McKinsey’s actions were, at the very least, a substantial factor in opioids
16
     becoming widely available and widely used; at the very least, a substantial factor in deceiving
17

18   doctors and patients about the risks and benefits of opioids for the treatment of chronic pain.

19   Without McKinsey’s actions, opioid use, misuse, abuse, and addiction would not have become so
20
     widespread, and the opioid epidemic that now exists would have been averted or much less severe.
21
             180.    McKinsey has breached its duties to Lac du Flambeau by disseminating false and
22
     misleading information regarding the dangers of opioid use and by targeting physicians likely to
23

24   prescribe opioids for pain management despite the availability of other, less or non-addictive pain

25   killers, and by turbo-charging the opioid pill market.
26
             181.    McKinsey unlawfully provided false or misleading material information about
27
     prescription opioids or unlawfully failed to use reasonable care or comply with statutory
28

                                                      41
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1    requirements in the distribution of prescription opioids.
2
             182.    McKinsey’s acts and omissions created the opioid epidemic and thereby caused
3
     injury to the health of Plaintiff and the Plaintiff’s members and interfered with the comfortable
4
     enjoyment of life and property of others, specifically the Plaintiff and its members.
5

6            183.    McKinsey’s acts and omissions offend decency and include the illegal sales of

7    controlled substances.
8
             184.    McKinsey’s acts and omissions render members of Lac du Flambeau insecure.
9
             185.    Plaintiff did not consent, expressly or impliedly, to the wrongful conduct of
10
     Defendant.
11

12           186.    As a direct and legal result of the conduct of McKinsey, Plaintiff suffered harm

13   that is different from the type of harm suffered by the general public. McKinsey’s acts and
14
     omissions proximately caused injury to Plaintiff and its members including, inter alia,
15
     recoupment of costs of providing or paying for the health care, pharmaceutical care, and other
16
     necessary services of Plaintiff, flowing from an ongoing and persistent public nuisance which
17

18   Plaintiff seeks to abate.

19           187.    McKinsey has a duty to pay for and/or remedy and abate the nuisance caused the
20
     by the prescription opioid epidemic.
21
             188.    The public nuisance created, perpetuated, and maintained by McKinsey can be
22
     abated and further recurrence of such harm and inconvenience can be abated.
23

24           189.    The hazardous condition which was created by and/or permitted to exist by

25   McKinsey affected a substantial number of people at the same time within the general public,
26
     including Plaintiff, and constitutes a public nuisance.
27
             190.    McKinsey has failed to abate the nuisance it created.
28

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1            191.    Plaintiff seeks economic damages from the Defendant as reimbursement for the
2
     costs associated with past efforts to eliminate the hazards to public health and safety.
3
             192.    Plaintiff seeks an order providing for abatement of the public nuisance that
4
     Defendant created or assisted in the creation of, and enjoining Defendant from future nuisance
5

6    creations.

7            193.    Plaintiff seeks economic damages from the Defendant to pay for the costs to
8
     permanently eliminate the hazards to public health and safety and abate the public nuisance.
9
             194.    As a direct result of Defendant’s conduct, Plaintiff and its community have
10
     suffered actual injury and economic damages including, but not limited to, significant expenses
11

12   for police, emergency, health, education and training, prosecution, child protection, corrections,

13   judicial and other services.
14
             195.    McKinsey is liable to Plaintiff for the costs borne by Plaintiff as a result of the
15
     opioid epidemic and for the costs of abating the nuisance created by McKinsey. Plaintiff is entitled
16
     to a monetary award for compensatory damages, abatement, and punitive damages.
17

18           E.      Count V: Negligence and Gross Negligence

19           196.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as
20
     if fully set forth herein.
21
             197.    The opioid epidemic was a direct, legal, and proximate result of McKinsey’s
22
     negligence. As a direct, proximate, and legal result of said negligence, Plaintiff suffered damages
23

24   as alleged herein.

25           198.    Through its work with Purdue and other opioid companies, McKinsey assumed
26
     and owed Plaintiff duties of care. McKinsey’s failure to comply with their duties of care
27
     proximately caused damage to Plaintiff.
28

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1              199.   The negligence of McKinsey was a substantial factor in causing Plaintiff’s
2
     damages.
3
               200.   As a further direct and proximate result of McKinsey’s negligence, Plaintiff
4
     suffered damages including, but not limited to economic loss, business loss, emotional distress,
5

6    annoyance, disturbance, shame, inconvenience, drug addiction and/or dependency, and neonatal

7    abstinence syndrome.
8
               201.   There is moral blame attached to McKinsey as a result of the terrible injuries and
9
     suffering their misconduct caused, including the damage to Plaintiff.
10
               202.   Public policy supports finding a duty of care in this circumstance, and a finding of
11

12   a duty of care on McKinsey will also deter McKinsey from engaging in such behavior in the

13   future.
14
               203.   Further, the conduct alleged against McKinsey in this complaint was despicable
15
     and subjected Plaintiff to cruel and unjust hardship in conscious disregard of their rights,
16
     constituting oppression, for which McKinsey must be punished by punitive and exemplary
17

18   damages in an amount according to proof. McKinsey’s conduct evidences a conscious disregard

19   for the safety and welfare of others, including Plaintiff. One or more of McKinsey’s officers,
20
     directors, or managing agents, including one or more of John Does 1-100, personally committed,
21
     authorized, and/or ratified the despicable and wrongful conduct alleged in this complaint.
22
               204.   Plaintiff is entitled to a monetary award for compensatory damages, abatement,
23

24   and punitive damages.

25             F.     Count VI: Unjust Enrichment
26             205.   Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as
27
     if fully set forth herein.
28

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1              206.   Plaintiff has expended substantial amounts of money to fix or mitigate the societal
2
     harms caused by Defendant’s conduct and that of John Does 1-100.
3
               207.   The expenditures by Plaintiff in providing healthcare services to people who use
4
     opioids have added to Defendant’s wealth, including John Does 1-100. The expenditures by
5

6    Plaintiff have helped sustain Defendant’s businesses and make John Does 1-100 very wealthy.

7              208.   Plaintiff has conferred a benefit upon Defendants by paying for what may be called
8
     Defendants’ externalities – the costs of the harm caused by Defendants’ negligent distribution
9
     and sales practices.
10
               209.   Defendants are aware of this obvious benefit, and that retention of this benefit is
11

12   unjust.

13             210.   Defendants made substantial profits while fueling the prescription drug epidemic
14
     in Plaintiff’s community.
15
               211.   Defendants have been unjustly enriched by their negligent, intentional, malicious,
16
     oppressive, illegal and unethical acts, omissions, and wrongdoing.
17

18             212.   It would be inequitable to allow Defendants to retain benefit or financial

19   advantage.
20
               213.   Plaintiff demands judgment against the Defendant McKinsey and John Does 1-
21
     100 for restitution, disgorgement, and any other relief allowed in law or equity. Plaintiff is entitled
22
     to a monetary award for compensatory damages, abatement, and punitive damages.
23

24             G.     Count VII: Common Law Fraud

25             214.   Lac du Flambeau re-alleges and incorporates by reference the foregoing
26
     paragraphs.
27
               215.   Defendants falsely represented material facts and concealed material facts
28

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1    concerning their knowledge and data showing red flags of opioid over-prescription, opioid
2
     diversion, and opioid-related crime.
3
            216.    These false representations and concealments were reasonably calculated to
4
     deceive prescribing physicians in the patient areas of Lac du Flambeau, were made with the intent
5

6    to deceive, and did in fact deceive physicians who prescribed opioids for chronic pain.

7           217.    These false representations and concealments were reasonably calculated to
8
     deceive prescribing Members of Lac du Flambeau, were made with the intent to deceive, and did
9
     in fact deceive physicians who prescribed opioids for chronic pain.
10
            218.    But for these false representations and concealments of material fact, Lac du
11

12   Flambeau, upon which Plaintiff relied to its detriment, would not have incurred excessive costs

13   and economic loss.
14
            219.    Defendants’ false representations and concealments of material fact were
15
     intentional, with malice aforethought, in reckless disregard of Plaintiff’s rights, and/or grossly
16
     negligent.
17

18          220.    As a direct and proximate cause of Defendants’ fraudulent conduct, Lac du

19   Flambeau has suffered damages and is entitled to an award of compensatory and punitive
20
     damages.
21
            H.      Count VIII: Civil Conspiracy
22
            221.    Lac du Flambeau re-alleges and incorporates by reference the foregoing
23

24   paragraphs.

25          222.    Defendants participated in and helped orchestrate a broad scheme to deceptively
26
     market opioids.
27
            223.    Defendants were paid to provide consulting services to Purdue Pharma L.P., and
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1    other pharmacy manufacturers working to maximize sales of OxyContin and other opioids and
2
     knowingly perpetuating the opioid crisis.
3
               224.   Defendants continuously supplied their services to their pharmacy manufacturer
4
     clients despite having actual or constructive knowledge that those pharmacies were breaching
5

6    their common law duties, among others.

7              225.   Neither Defendants nor their clients, the opioid manufacturers, would have
8
     profited so significantly without the concerted conduct of the
9
               226.   As a result of the concerted action between the Defendants and their clients, Lac
10
     du Flambeau and its members have suffered damage.
11

12             227.   Lac du Flambeau Band demands judgement against Defendants for compensatory

13   and punitive damages.
14
     VII:      PRAYER FOR RELIEF
15
               WHEREFORE, Plaintiff respectfully requests judgment in its favor granting the following
16
     relief:
17

18             a.     Entering Judgment in favor of Plaintiff in a final order against McKinsey and
                      JOHN DOES 1-100;
19
               b.     An award of actual damages and treble damages, including pre-suit and post-
20
                      judgment interest;
21
               c.     An order enjoining any further violations of RICO;
22
               d.     An order enjoining any further violations of any statutes alleged to have been
23
                      violated in this Complaint;
24
               e.     An order enjoining the commission of any tortious conduct, as alleged in this
25                    Complaint;
26
               f.     An order enjoining any future marketing or misrepresentations regarding the
27                    health benefits or risks of prescription opioids use, except as specifically approved
                      by the FDA;
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1    g.       An order enjoining any future marketing of opioids through non-branded
              marketing including through front groups, KOLs, websites, or in any other manner
2
              alleged in this Complaint that deviates from the manner or method in which such
3             marketing has been approved by the FDA;

4    h.       An order enjoining any future marketing to vulnerable populations, including but
              not limited to, persons over the age of fifty-five, anyone under the age of twenty-
5
              one, and veterans;
6
     i.       An order requiring McKinsey to publicly disclose all documents, communications,
7             records, data, information, research, or studies related to its work with Purdue and
              other manufacturers, distributors and dispensers of opioids;
8

9    j.       An order obligating McKinsey to disgorge all revenues and profits derived from
              its scheme;
10
     k.       An order divesting McKinsey of any interest in and the proceeds of any work
11
              related to opioids;
12
     l.       An award of all damages resulting from McKinsey’s violation of 18 U.S.C. §
13            1962(c) and (d), including prejudgment interest, the sum trebled pursuant to 18
              U.S.C. § 1962(c);
14

15   m.       Ordering McKinsey to compensate Plaintiff for past and future costs to abate the
              ongoing public nuisance caused by the opioid epidemic;
16
     n.       Ordering McKinsey to fund an “abatement fund” for the purposes of abating the
17
              public nuisance;
18
     o.       Awarding the damages caused by the opioid epidemic, including (a) costs for
19            providing medical care, additional therapeutic and prescription drug purchases,
              and other treatments for patients suffering from opioid-related addiction or
20
              disease, including overdoses and death; (b) costs for providing treatment,
21            counseling, and rehabilitation services; (c) costs for providing treatment of infants
              born with opioid-related medical conditions; (d) costs for providing care for
22            children whose parents suffer from opioid-related disability or incapacitation; (e)
              costs associated with law enforcement and public safety relating to the opioid
23
              epidemic; and (6) costs for providing transitional housing for those returning to
24            the community.

25   p.       An award of the Plaintiff’s costs, including reasonable attorney’s fees, pursuant to
              18 U.S.C. § 1962 (c); and
26

27   q.       Any other relief deemed just, proper, and/or equitable.

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1                                    REQUEST FOR JURY TRIAL
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            Plaintiff respectfully requests that all issues presented by its above Complaint be tried by
3
     a jury, except for those issues that, by law, must be tried before the Court.
4
            DATED this 6th day of April, 2022
5

6                                                    By:   /s/ T. Roe Frazer II
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